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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

RESHUDIA KEYRIA RICKS,


      Plaintiff,
                                                           Civil Action File No.
vs.                                                        4:15-CV-240-HLM

LISA WILLIAMS BLAKE, M.D.,
NORTHWEST GEORGIA MEDICAL CLINIC,
P.C., and NORTHWEST GEORGIA MEDICAL
CLINIC II, LLC.
      Defendants.

             STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to and in accordance with Rule 41(a)(1)(A)(ii)(B), the parties hereto

stipulate to the dismissal of the above styled action with prejudice.

      Dated this 23rd day of October 2017.


COLOM & BRANT, LLC                            /s/ Charles T. Brant
One Ninety One Peachtree Tower                Charles T. Brant
191 Peachtree Street, Suite 3270              Georgia Bar 078070
Atlanta Georgia 30303                         Attorney for Plaintiff
        Case 4:15-cv-00240-HLM Document 70 Filed 10/31/17 Page 2 of 4



                       CERTIFICATE OF COMPLIANCE
      This is to certify that the forgoing STIPULATION OF DISMISSAL WITH

PREJUDICE complies with the font and point selections approved by the Court in

Local Rule 5.1. It is prepared with Times New Roman 14 point font.

Dated this 23rd day of October 2017.


COLOM & BRANT, LLC                        /s/ Charles T. Brant
One Ninety One Peachtree Tower            Charles T. Brant
191 Peachtree Street, Suite 3270          Georgia Bar 078070
Atlanta Georgia 30303                     Attorney for Plaintiff
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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION


RESHUDIA KEYRIA RICKS,
    Plaintiff,
                                                      Civil Action File No.
vs.                                                   4:15-CV-240-HLM

LISA WILLIAMS BLAKE, M.D.,
NORTHWEST GEORGIA MEDICAL CLINIC,
P.C., and NORTHWEST GEORGIA MEDICAL
CLINIC II, LLC.,
      Defendants.

                         CERTIFICATE OF SERVICE

      COME NOW, Plaintiff Reshudia Keyria Ricks, in the above-styled action,

and pursuant to Local Rule 26.3 of the Northern District of Georgia, and notify the

Court of service upon opposing counsel, a copy of Stipulation of Dismissal by

electronic service to counsel of record as follows:


        Andrew M. Bagley                              Wayne D. McGrew
191 Peachtree Street, NE, Suite 3900          191 Peachtree Street, NE, Suite 3900
        Atlanta, GA 30303                             Atlanta, GA 30303
 abagley@weathingtonmcgrew.com                dmcgrew@weathingtonmcgrew.com

This 23rd day of October 2017

                             Signature Page to Follow
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Respectfully Submitted,

Colom and Brant, Trial Attorneys             Steel, Moss, Ebert, Trial Attorneys


/s/ CTB                                      /s/ JDS
Charles T. Brant                             John D. Steel (w/express permission)
Georgia Bar No. 078070                       Georgia Bar No. 677646
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/s/ Andrew M Bagley (w/express permission)
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